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    5
        Attorneys for Plaintiff
    6   KATHRYN KAILIKOLE
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    9                     UNITED STATES DISTRICT COURT
   10                   SOUTHERN DISTRICT OF CALIFORNIA
   11

   12   KATHRYN KAILIKOLE, an                  Case No: 3:18-cv-02877-AJB-MSB
        individual,
   13                                          DECLARATION OF EVAN DWIN IN
                         Plaintiff,            SUPPORT OF JOINT MOTION TO
   14                                          EXTEND THE BRIEFING
   15
             v.                                SCHEDULE FOR DEFENDANT’S
                                               SPECIAL MOTION TO STRIKE
   16   PALOMAR COMMUNITY                      PLAINTIFF’S FIRST AMENDED
        COLLEGE DISTRICT, a                    COMPLAINT
   17   governmental entity; and DOES 1
        through 25, inclusive,                 Current Response Date: April 3, 2019
   18                                          Current Reply Date: April 10, 2019
   19                    Defendants.
                                               Requested Response Date: April 17, 2019
   20                                          Requested Reply Date: April 24, 2019
   21                                          Hearing Date: June 20, 2019
   22
                                               Hearing Time: 2:00 p.m.
                                               Courtroom: 4A
   23
                                               Complaint Filed: November 20, 2018
   24                                          Removal Date: December 26, 2018
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           DECLARATION OF EVAN DWIN IN SUPPORT OF JOINT MOTION TO EXTEND
                                BRIEFING SCHEDULE
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    1         I, Evan Dwin, hereby declare and state as follows:
    2         1.     I am an attorney licensed to practice before this Court, and the
    3   principal of Dwin Legal, APC, counsel of record for Plaintiff Kathryn Kailikole
    4   (“Plaintiff”). I make this Declaration in support of the parties’ Joint Motion to
    5   Extend the Briefing Schedule for Defendant’s Special Motion to Strike Plaintiff’s
    6   First Amended Complaint. I am over the age of eighteen and have personal
    7   knowledge of the matter contained herein. If called as a witness I could and would
    8   testify competently to the matters set forth in this declaration.
    9         2.     On March 19, 2019, Defendant Palomar Community College District
   10   (“Defendant”) filed a Special Motion to Strike Plaintiff’s First Amended Complaint
   11   Pursuant to Cal. Code Civ. Proc. § 425.16 (the “Motion”).
   12         3.     The current briefing schedule for the Motion requires Plaintiff to file
   13   her response on April 3, 2019. (Doc. 20.)
   14         4.     I will be traveling with my family from March 21 through March 25
   15   to Baltimore, Maryland and Washington, D.C. The purpose of the trip is a
   16   combination of attending my father’s 80th birthday celebration in Baltimore and my
   17   niece’s bat mitzvah in Washington, D.C. My father, Harold Dwin, practices law
   18   full-time and is in his 51st year as a member of the Maryland State Bar Association.
   19         5.     Because I will be traveling from March 21 through March 25 for these
   20   very special family events, I will be unavailable for 5 of the 14 days (including
   21   weekends) in the current time to draft the opposition to the Motion.
   22         6.     The Motion is twenty-five pages long and cites to fifty-one authorities
   23   including, thirty-six cases, four federal statutes, ten state statutes, and the First
   24   Amendment. (Doc. 14.) The Motion seeks dismissal of Plaintiff’s claims and seeks
   25   the recovery of costs and attorneys’ fees. Further, the declarations submitted in
   26   connection with the motion contain a combined 800 pages of Exhibits.
   27         7.     Because I am traveling for very important family events and the
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               DECLARATION OF EVAN DWIN IN SUPPORT OF JOINT MOTION TO EXTEND
                                                           BRIEFING SCHEDULE
                                                    CASE NO. 18CV2877 AJB MSB
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    1   Motion is a complex and significant motion, good cause exists to extend the
    2   briefing schedule for two weeks so that Plaintiff’s response is due on April 17, 2019
    3   and Defendant’s reply is due April 24, 2019.
    4         I declare under the law of the United States of America and California that
    5   the foregoing is true and correct.
    6         Executed this 20th day of March 2019 in Carlsbad, California.
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                                             /s/ Evan Dwin
                                                Evan Dwin
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               DECLARATION OF EVAN DWIN IN SUPPORT OF JOINT MOTION TO EXTEND
                                                           BRIEFING SCHEDULE
                                                    CASE NO. 18CV2877 AJB MSB
